     Case 2:14-cr-00168-LMA-KWR Document 909 Filed 12/21/20 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                      CRIMINAL ACTION

VERSUS                                                                   No. 14-168

LANCE SINGLETON                                                        SECTION I

                            ORDER AND REASONS

      Before the Court is defendant Lance Singleton’s (“Singleton”) motion1 to

correct an illegal sentence pursuant to Federal Rule of Criminal Procedure 35(a). The

government opposes2 the motion. The motion is denied for the following reasons.

      Singleton pleaded guilty to four counts of a superseding indictment in

September 2015.3     The charged conduct occurred began in 2010 and continued

through at least 2012.4

      Singleton filed the instant motion in November 2020. 5 He argues that the

Court sentenced him illegally by applying a two-point firearm enhancement under

2D1.1(b)(1).6   Singleton argues that the Court can remedy this mistake because,

under Federal Rule of Criminal Procedure 35(a), “[t]he Court may correct an illegal

sentence at any time.” 7




1 R. Doc. No. 906.
2 R. Doc. No. 908.
3 See R. Doc. No. 399 (minutes of arraignment hearing).
4 R. Doc. No. 401 (factual basis).
5 R. Doc. No. 906.
6 Id. at 4.
7 Id. at 2.
     Case 2:14-cr-00168-LMA-KWR Document 909 Filed 12/21/20 Page 2 of 3




       Singleton relies on an outdated version of Rule 35(a). That version still applies

to sentences for offenses committed prior to Nov. 1, 1987; it does not apply here. Id.

As amended, Rule 35(a) provides that “[w]ithin 14 days after sentencing, the court

may correct a sentence that resulted from arithmetical, technical, or other clear

error.” Fed. R. Crim. P. 35(a). “The rule provides this Court with a ‘narrow authority’

that ‘extends solely to cases in which an obvious error or mistake has occurred in the

sentence, that is, errors which would almost certainly result in a remand of the case

to the trial court for further action.’” United States v. Dorsey, No. 11-119, 2019 WL

2058933, at *3 (E.D. La. May 9, 2019) (Morgan, J.) (quoting United States v. Olarte-

Rojas, 820 F.3d 798, 803–04 (5th Cir. 2016)).

       Singleton filed this motion years after receiving the sentence at issue. And

even if he had filed within fourteen days, his argument is not the sort which can be

addressed on a 35(a) motion. Singleton does not argue that an arithmetic or technical

error occurred. Instead, he re-urges an argument the Court rejected at sentencing.

That is not the stuff of a Rule 35(a) motion. See, e.g., United States v. Caballero De

La Torre, 769 F. App’x 167, 168 (5th Cir. 2019) (per curiam) (stating that defendant’s

argument that district court “erred in imposing a four-year term of supervised release

because he [was] a deportable alien . . . . could not [be] raise[d] . . . in a Rule 35 motion

because [such an error] is not the type of error contemplated by Rule 35(a)”); United

States v. Jefferson, 757 F. App’x 396, 396 (5th Cir. 2019) (per curiam) (stating that

district court’s alleged failure to explain deviation from the Guidelines is not “a proper

ground under Rule 35(a)”). Therefore,



                                             2
Case 2:14-cr-00168-LMA-KWR Document 909 Filed 12/21/20 Page 3 of 3




 IT IS ORDERED that the motion is DENIED.

 New Orleans, Louisiana, December 21, 2020.



                                  _______________________________________
                                            LANCE M. AFRICK
                                   UNITED STATES DISTRICT JUDGE




                                 3
